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                          IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF PENNSYLVANIA


 BLAIR DOUGLASS,

                        Plaintiff,                        Lead Case No. 2:20-cv-00491-AJS

         v.

 ‘47 BRAND, LLC,

                        Defendant.


                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Now come the parties in the above-entitled action, by their attorneys, and hereby stipulate

and agree that the action be Dismissed, with prejudice, and with each party bearing his and its own

costs, pursuant to Fed. R. Civ. P. 41(A)(1)(a)(ii).

       Respectfully Submitted,

 Counsel for Plaintiff:                           Counsel for Defendant:
 /s/ Kevin W. Tucker                              /s/ Christian Antkowiak
 Kevin W. Tucker (He/Him/His)                     Christian Antkowiak
 Kevin J. Abramowicz                              Ryan Wilk
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                              CERTIFICATE OF SERVICE

       I hereby certify that on this day, November 20, 2020, a true and correct copy of the

foregoing document was filed on the Court’s CM/ECF system and will be served upon all counsel

of record.

                                          Respectfully Submitted,

 Dated: November 20, 2020                        /s/ Kevin W. Tucker
                                                 Kevin W. Tucker (He/Him/His)
                                                 Pa. No. 312144
                                                 EAST END TRIAL GROUP LLC
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